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                                                      UNITED STATES DISTRICT COURT
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                                                    CENTRAL DISTRICT OF CALIFORNIA
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                                                                  WESTERN DIVISION
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                              OX LABS, INC.,                               Case No. 2:18-cv-05934-MWF-KS
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                                                     Plaintiff,            DEFENDANT BITPAY, INC.’S
                                                                           OBJECTIONS TO
                        22    vs.                                          PLAINTIFF OX LABS, INC.’S
                        23    BITPAY, INC. and Does 1-10,                  PROPOSED JURY
                                                                           INSTRUCTIONS
                        24                           Defendants.
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                              OBJECTIONS TO PROPOSED JURY INSTRUCTIONS                    Case No. 2:18-cv-05934-MWF-KS
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                         1           Pursuant to the Court’s Order re: Jury Trial (D.I. 22), Defendant BitPay, Inc.
                         2    provides the following objections to Plaintiff Ox Labs, Inc.’s Proposed Jury
                         3    Instructions.
                         4
                               Ox Labs’ Proposed Instruction             BitPay’s Objection(s)
                         5     No.
                               27 (“CONVERSION—                          BitPay objects to Ox Labs’ Proposed
                         6     ESSENTIAL FACTUAL                         Instruction No. 27 as stated. The elements
                               ELEMENTS”)                                are not accurately stated in a neutral form.
                         7                                               The instruction also misstates the nature of
                                                                         the error, i.e., BitPay never possessed the
                         8                                               200 erroneously credited bitcoin. The
                                                                         instruction also omits the fact that Ox Labs
                         9                                               admitted that the alleged conversion was
                                                                         the result of its own error. There is also no
                        10                                               evidence of any interference with Ox Labs’
                                                                         rights. The statement that BitPay refused
                        11                                               to return the bitcoins falsely implies that
RUSS, AUGUST & KABAT




                                                                         BitPay had the erroneously credited
                        12                                               bitcoins to return.
                        13     28 (“DAMAGES FOR                          BitPay objects to Proposed Instruction No.
                               CONVERSION                                28 as stated. California Civil Code § 3336
                        14     (CIV. CODE § 3336)”)                      is not accurately cited and nor is the
                                                                         standard for when the alternate to value-at-
                        15                                               time-of-conversion is available.
                        16     29 (“UNJUST ENRICHMENT –                  BitPay objects to Proposed Instruction No.
                               QUASI-CONTRACT -                          29, as it does not accurately state Ox Labs’
                        17     MISTAKEN RECEIPT”)                        pled claim or available remedy. The
                                                                         instruction also misstates the nature of the
                        18                                               error, i.e., BitPay never possessed the 200
                                                                         erroneously credited bitcoin. The
                        19                                               instruction also omits the fact that Ox Labs
                                                                         admitted that the alleged conversion was
                        20                                               the result of its own error. Finally, the
                                                                         instruction omits undisputed evidence
                        21                                               showing that Ox Labs cannot prove that it
                                                                         would still be benefiting from the bitcoin
                        22                                               had the error not occurred. The instruction
                                                                         also omits that the remedy for unjust
                        23                                               enrichment does not override the remedy
                                                                         for conversion.
                        24
                               30 (“SPECIFIC RECOVERY”)                  BitPay objects to Proposed Instruction No.
                        25                                               30 as it misstates the standard and
                                                                         availability of an alternate remedy to value
                        26                                               at the time of Ox Labs’ own error.
                        27     31 (“STATUTE OF                         BitPay objects to Proposed Instruction No.
                        28     LIMITATIONS – AFFIRMATIVE 31 because it misstates the issue. The court
                              OBJECTIONS TO PROPOSED JURY INSTRUCTIONS    1                   Case No. 2:18-cv-05934-MWF-KS
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                               Ox Labs’ Proposed Instruction             BitPay’s Objection(s)
                         1     No.
                               DEFENSE”)                                 will decide whether the two- or three- year
                         2                                               statute of limitations applies. If the three-
                                                                         year statute applies, BitPay does not assert
                         3                                               that the statute of limitations expires. If the
                                                                         two-year statute of limitations applies, the
                         4                                               question will be whether Ox Labs is
                                                                         excused from its own error in not
                         5                                               discovering the error earlier than July 6,
                                                                         2015.
                         6
                         7
                         8           Respectfully submitted,
                         9    DATED: November 4, 2019                       RUSS, AUGUST & KABAT
                                                                            Benjamin T. Wang
                        10                                                  James S. Tsuei
                        11                                                  By: /s/ Benjamin T. Wang
RUSS, AUGUST & KABAT




                        12                                                       Attorney for Defendant
                                                                                 BitPay, Inc.
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                              OBJECTIONS TO PROPOSED JURY INSTRUCTIONS      2                     Case No. 2:18-cv-05934-MWF-KS
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                         1                               CERTIFICATE OF SERVICE
                         2           I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                         3    and 5-4 that the foregoing DEFENDANT BITPAY, INC.’S OBJECTIONS TO
                         4    PLAINTIFF OX LABS, INC.’S PROPOSED JURY INSTRUCTIONS was
                         5    served upon the attorney(s) of record for each party through the ECF system as
                         6    identified on the Notice of Electronic Filing on November 4, 2019.
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                        10                                               By:     /s/ Benjamin T. Wang
                        11                                                     Benjamin T. Wang
RUSS, AUGUST & KABAT




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                              OBJECTIONS TO PROPOSED JURY INSTRUCTIONS          3                 Case No. 2:18-cv-05934-MWF-KS
